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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                          No. CR-05-00480-PCT-SPL
10                         Plaintiff,                   DETENTION ORDER
11   v.
12   Ronald Hanley,
13                         Defendant.
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15           On May 23, 2022, Defendant appeared before this Court on a petition for revocation
16   of supervised release. The issue of detention was submitted to the Court. The Court
17   considered the petition and file in determining whether Defendant should be released on
18   conditions set by the Court.
19           The Court finds that Defendant, having previously been convicted and placed on
20   supervised release, and having appeared before the Court in connection with a petition to
21   revoke his supervised release, has failed to establish by clear and convincing evidence that
22   he is not likely to flee or pose a danger to the safety of the community if released pursuant
23   to Rule 46(d), and Rule 32.1(a)(6), Federal Rules of Criminal Procedure, and 18 U.S.C. §
24   3143.
25           IT IS THEREFORE ORDERED that Defendant be detained pending further
26   proceedings.
27           Dated this 23rd day of May, 2022.
28
                                                       Honorable Eileen S. Willett
                                                       United States Magistrate Judge
